


  OPINION OF THE COURT
 

  Upon review of submissions pursuant to section 500.4 of the Rules of the Court of Appeals (22 NYCRR 500.4), appeal dismissed, without costs, upon the ground that no appeal lies pursuant to leave of the Appellate Division from the order of that court affirming the granting of a new hearing because an appeal as of right lies pursuant to CPLR 5601 (c) (CPLR 5602 [b] [1]; Cohen and Karger, Powers of the New York Court of Appeals § 65, at 289-291;
  
   see also,
  
  CPLR 5602 [a] [1] [ii]; 5601 [d], as amended by L 1986, ch 316).
 
